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8                          UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               Case No. 2:21-cv-07231-FLA (KSx)
12                          Plaintiff,
                                             ORDER RE: SCHEDULE OF
13                   v.                      PRETRIAL AND TRIAL DATES,
14                                           TRIAL REQUIREMENTS, AND
                                             CONDUCT OF ATTORNEYS AND
15   $150,900.00 IN U.S. CURRENCY,           PARTIES
16                          Defendant.
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1    I.      SCHEDULE
2            The Scheduling Order governing this action is set forth in the Schedule of
3    Pretrial and Trial Dates chart below. The box in the upper right-hand corner of the
4    chart states whether the trial will be by jury or court. If the parties1 seek to set
5    additional dates, they may file a Stipulation and Proposed Order. This may be
6    appropriate in class actions, patent cases, or cases for benefits under the Employee
7    Retirement Income Security Act of 1974 (“ERISA”).
8            The parties should refer to the court’s Standing Order for requirements
9    regarding specific motions, discovery, certain types of filings, courtesy copies,
10   emailing signature items to chambers, alternative dispute resolution, and other
11   matters pertaining to all cases. A copy of the court’s Standing Order is available at:
12   http://www.cacd.uscourts.gov/honorable-fernando-l-aenlle-rocha.
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          The term “parties” includes unrepresented parties as well as counsel for
28        represented parties.

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                                  DISTRICT JUDGE FERNANDO L. AENLLE-ROCHA
1                                   SCHEDULE OF PRETRIAL AND TRIAL DATES
2
                          Trial and Final Pretrial Conference Dates                            Court Order
3                                                                                     April 18, 2023 at 9:00 a.m.
                                                                                      ☒ Jury Trial
4        Trial
                                                                                      ☐ Bench Trial
                                                                                      Est. 2-3 Days
5
         Final Pretrial Conference (“FPTC”) [L.R. 16], Hearing on Motions in Limine   March 31, 2023 at 1:00 p.m.
6
                                            Event1
                                                                                               Court Order
7                       Note: Hearings shall be on Fridays at 1:30 p.m.

8        Last Date to Hear Motion to Amend Pleadings or Add Parties [Friday]           May 27, 2022

9        Fact Discovery Cut-Off [Friday]                                               December 2, 2022

         Expert Disclosure (Initial)                                                   December 9, 2022
10
         Expert Disclosure (Rebuttal)                                                  December 23, 2022
11
         Expert Discovery Cut-Off                                                      January 6, 2023
12
         Last Date to Hear Motions [Friday]
13         Rule 56 Motion due at least 5 weeks before hearing
                                                                                       February 3, 2023
           Opposition due 2 weeks after Motion is filed

14         Reply due 1 week after Opposition is filed


                                                                                       February 24, 2023
15                                                                                     ☒ 1. Magistrate Judge
         Deadline to Complete Settlement Conference [L.R. 16-15]
                                                                                       ☐ 2. Court Mediation Panel
16                                                                                     ☐ 3. Private Mediation
17       Trial Filings (first round)
           Motions in Limine
18         Memoranda of Contentions of Fact and Law [L.R. 16-4]

           Witness Lists [L.R. 16-5]
19         Joint Exhibit List [L.R. 16-6.1]                                           March 3, 2023
           Joint Status Report Regarding Settlement
20         Proposed Findings of Fact and Conclusions of Law [L.R. 52]
            (bench trial only)
21         Declarations containing Direct Testimony, if ordered (bench trial only)


22       Trial Filings (second round)
           Oppositions to Motions in Limine
23         Joint Proposed Final Pretrial Conference Order [L.R. 16-7]

           Joint Agreed Upon Proposed Jury Instructions (jury trial only)
24         Disputed Proposed Jury Instructions (jury trial only)
                                                                                       March 17, 2023
           Joint Proposed Verdict Forms (jury trial only)
25         Joint Proposed Statement of the Case (jury trial only)

           Proposed Voir Dire Questions, if any (jury trial only)
26         Evidentiary Objections to Declarations of Direct Testimony (bench
            trial only)
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         The parties may seek dates for additional events by filing a separate Stipulation and Proposed Order.
28

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1            A.      Deadlines for Motions
2            All motions must be noticed to be heard on or before their respective
3    deadlines. All unserved parties will be dismissed at the time of the Final Pretrial
4    Conference (“FPTC”) pursuant to Local Rule 16-8.1.
5            B.      Discovery Cut-Off and Discovery Disputes
6                    1.   Discovery Cut-off: The cut-off date for discovery is not the date
7    by which discovery requests must be served; it is the date by which all discovery,
8    including all hearings on any related motions, must be completed. Thus, written
9    discovery must be served and depositions must begin sufficiently in advance of the
10   discovery cut-off date to permit the propounding party enough time to challenge
11   responses deemed to be deficient via motion practice. Given the requirements to
12   meet and confer and to give notice, a planned motion to compel must ordinarily be
13   discussed with the opposing party at least six (6) weeks before the cut-off.
14                   2.   Expert Discovery: All expert disclosures must be made in
15   writing. The parties should begin expert discovery shortly after the initial
16   designation of experts. The FPTC and trial dates will not be continued merely
17   because expert discovery is not completed. Failure to comply with these or any other
18   orders concerning expert discovery may result in the expert being excluded as a
19   witness.
20                   3.   Discovery Disputes: The parties must make every effort to
21   resolve discovery disputes in a courteous, reasonable, and professional manner.
22   Counsel must adhere to the court’s Civility and Professionalism Guidelines at:
23   http://www.cacd.uscourts.gov/attorneys/admissions/civility-and-professionalism-
24   guidelines.
25                   4.   Discovery Motions: Discovery motions are handled by the
26   Magistrate Judge assigned to the case. Any motion challenging the adequacy of
27   discovery responses must be filed, served, and calendared sufficiently in advance of
28   the discovery cut-off date to permit the responses to be obtained before that date if

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1    the motion is granted.
2            C.      Law and Motion and Local Rule 7-3
3            The parties are required under Local Rule 7-3 to meet and confer to attempt to
4    resolve disputes before filing a motion. In addition, this court requires the parties to
5    meet and confer regarding any other request for relief except those identified in Local
6    Rules 7-3 and 16-12.
7            The parties should review the court’s Standing Order for instructions regarding
8    motions to dismiss, motions to amend, motions for summary judgment, and other
9    forms of relief.
10           D.      Settlement Conference/Alternative Dispute Resolution Procedures
11           Pursuant to Local Rule 16-15, the parties must participate in a Settlement
12   Conference or Alternative Dispute Resolution (“ADR”) procedure. The Scheduling
13   Order indicates the procedure the parties shall use. If the parties prefer an ADR
14   procedure other than the one ordered by the court, they shall file a Stipulation and
15   Proposed Order. The parties’ request may not necessarily be granted.
16           The parties shall file a Joint Report regarding the outcome of settlement
17   negotiations, the likelihood of possible further negotiations, and any assistance the
18   court may provide concerning settlement negotiations within seven (7) days after the
19   settlement conference. No case will proceed to trial unless all parties, including the
20   principals of all corporate parties, have appeared personally at a settlement
21   conference.
22           E.      Final Pretrial Conference/Proposed Final Pretrial Conference
23                   Order
24           The court has set a FPTC pursuant to Fed. R. Civ. P. 16 and Local Rule 16-8.
25   The court requires strict compliance with Fed. R. Civ. P. 16 and 26, and Local Rule
26   16. Each party appearing in this action must be represented at the FPTC by lead trial
27   counsel. The parties must be prepared to discuss streamlining the trial, including
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1    presentation of testimony by deposition excerpts or summaries, time limits,
2    stipulations to undisputed facts, and qualification of experts by admitted resumes.
3            The parties must file a proposed Final Pretrial Conference Order (“Proposed
4    FPTCO”) at least fourteen (14) days before the FPTC. A template for the Proposed
5    FPTCO is available on Judge Aenlle-Rocha’s webpage. The parties must use this
6    template.
7            In specifying the surviving pleadings under section 1, state which claims or
8    counterclaims have been dismissed or abandoned, e.g., “Plaintiff’s second cause of
9    action for breach of fiduciary duty has been dismissed.” Also, in multiple-party cases
10   where not all claims or counterclaims will be prosecuted against all remaining parties
11   on the opposing side, state to which party or parties each claim or counterclaim is
12   directed.
13           The parties must attempt to agree on and set forth as many uncontested facts as
14   possible. The court will read the uncontested facts to the jury at the start of trial. A
15   carefully drafted and comprehensively stated stipulation of facts will shorten the trial
16   and increase jury understanding of the case.
17           In drafting the factual issues in dispute, the parties must state issues in ultimate
18   fact form, not in the form of evidentiary fact issues. The issues of fact should track
19   the elements of a claim or defense on which the jury will be required to make
20   findings.
21           Issues of law should state legal issues on which the court will be required to
22   rule during the trial and should not list ultimate fact issues to be submitted to the trier
23   of fact.
24           The parties shall email the Proposed FPTCO in Microsoft Word format to
25   chambers at FLA_Chambers@cacd.uscourts.gov.
26   II.     TRIAL PREPARATION
27           The parties must comply with Local Rule 16. Pursuant to Local Rule 16-2,
28   lead trial counsel for each party are required to meet and confer in person forty (40)

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1    days in advance to prepare for the FPTC. The parties must comply with Local Rule
2    16-2, except where the requirements set forth in this order differ from or supplement
3    those contained in Local Rule 16. The court may take the FPTC off calendar or
4    impose other sanctions for failure to comply with these requirements.
5            A.      Schedule for Filing Pretrial Documents for Jury and Bench Trials
6            The schedule for filing pretrial documents is as follows:
7            ‚ At least twenty-eight (28) days before the FPTC:
8                     Motions in Limine
9                     Memoranda of Contentions of Fact and Law
10                    Witness Lists
11                    Joint Exhibit List
12                    Joint Status Report Regarding Settlement
13                    Proposed Findings of Fact and Conclusions of Law (bench trial only)
14                    Declarations containing Direct Testimony (bench trial only)
15           ‚ At least fourteen (14) days before the FPTC:
16                    Oppositions to Motions in Limine
17                    Joint Proposed FPTCO
18                    Joint Agreed Upon Proposed Jury Instructions (jury trial only)
19                    Disputed Proposed Jury Instructions (jury trial only)
20                    Joint Proposed Verdict Forms (jury trial only)
21                    Joint Proposed Statement of the Case (jury trial only)
22                    Proposed Voir Dire Questions, if any (jury trial only)
23                    Evidentiary Objections to Declarations of Direct Testimony (bench
24                      trial only)
25           The parties shall email all pretrial documents listed above, including any
26   amended documents, in Microsoft Word format to chambers the day they are due at:
27   FLA_Chambers@cacd.uscourts.gov.
28   ///

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1                    1.   Motions in Limine
2            Motions in limine will be heard and ruled on at the FPTC. The court may rule
3    orally instead of in writing. Each side is limited to five (5) motions in limine unless
4    the court grants leave to file additional motions. All motions in limine must be filed
5    at least twenty-eight (28) days before the FPTC. Oppositions must be filed at least
6    fourteen (14) days before the FPTC. There shall be no replies. Motions in limine
7    and oppositions must not exceed ten (10) pages in length.
8            Before filing a motion in limine, the parties must meet and confer to determine
9    whether the opposing party intends to introduce the disputed evidence and attempt to
10   reach an agreement that would obviate the need for the motion. Motions in limine
11   should address specific issues (e.g., not “to exclude all hearsay”). Motions in limine
12   should not be disguised motions for summary adjudication of issues. The court may
13   strike excessive or unvetted motions in limine.
14                   2.   Witness Lists
15           Witness lists must be filed twenty-eight (28) days before the FPTC. They must
16   be in the format specified in Local Rule 16-5, and must include for each witness (i) a
17   brief description of the testimony, (ii) the reasons the testimony is unique and not
18   redundant, and (iii) a time estimate in hours for direct and cross-examination. The
19   parties should use the template posted to Judge Aenlle-Rocha’s webpage. Any
20   Amended Witness List must be filed by 12:00 p.m. (noon) on the Friday before trial
21   and emailed to FLA_Chambers@cacd.uscourts.gov in Microsoft Word format.
22                   3.   Joint Exhibit List
23           The Joint Exhibit List must be filed twenty-eight (28) days before the FPTC. It
24   must be in the format specified in Local Rule 16-6 and shall include an additional
25   column stating any objections to authenticity and/or admissibility and the reasons for
26   the objections. The parties should use the template posted to Judge Aenlle-Rocha’s
27   webpage. Any Amended Joint Exhibit List must be filed by 12:00 p.m. (noon) on the
28

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1    Friday before trial and emailed to FLA_Chambers@cacd.uscourts.gov in Microsoft
2    Word format.
3                       4.    Jury Instructions (Jury Trial Only)
4            Joint agreed upon proposed jury instructions must be filed no later than
5    fourteen (14) days prior to the FPTC. The parties shall make every effort to agree
6    upon jury instructions before submitting proposals to the court. The court expects the
7    parties to agree on the substantial majority of instructions, particularly when pattern
8    or model jury instructions exist and provide a statement of applicable law. The
9    parties shall meet and confer regarding jury instructions according to the following
10   schedule:
11                    Thirty-five (35) days before the FPTC: The parties shall exchange
12                      proposed general and special jury instructions.
13                    Twenty-eight (28) days before the FPTC: The parties shall exchange any
14                      objections to the instructions.
15                    Twenty-one (21) days before the FPTC: The parties shall meet and
16                      confer with the goal of reaching agreement on one set of Joint Agreed
17                      Upon Proposed Jury Instructions.
18                    Fourteen (14) days before FPTC: The parties shall file their (1) Joint
19                      Agreed Upon Proposed Jury Instructions and their (2) Disputed Jury
20                      Instructions.
21           The parties shall file clean and redline sets of their (1) Joint Agreed Upon
22   Proposed Jury Instructions, and (2) Disputed Jury Instructions. The redline sets shall
23   include all modifications made by the parties to pattern or model jury instructions,
24   any disputed language, and the factual or legal basis for each party’s position as to
25   each disputed instruction. Where appropriate, the disputed instructions shall be
26   organized by subject, so that instructions that address the same or similar issues are
27   presented sequentially. If there are excessive or frivolous disagreements over jury
28

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1     instructions, the court will order the parties to meet and confer immediately until they
2     substantially narrow their disagreements.
3                       Sources: When the Manual of Model Jury Instructions for the Ninth
4     Circuit provides an applicable jury instruction, the parties should submit the most
5     recent version, modified and supplemented to fit the circumstances of the case.
6     Where California law applies, the parties should use the current edition of the
7     Judicial Council of California Civil Jury Instructions (“CACI”). If neither applies,
8     the parties should consult the current edition of O’Malley, et al., Federal Jury
9     Practice and Instructions. The parties may submit alternatives to these instructions
10    only if there is a reasoned argument that they do not properly state the law or are
11    incomplete. The court seldom gives instructions derived solely from case law.
12                      Format: Each requested instruction shall (1) cite the authority or source
13    of the instruction, (2) be set forth in full, (3) be on a separate page, (4) be numbered,
14    (5) cover only one subject or principle of law, and (6) not repeat principles of law
15    contained in any other requested instruction. If a standard instruction has blanks or
16    offers options, e.g., for gender, the parties must fill in the blanks or make the
17    appropriate selections in their proposed instructions.
18                      Index: All proposed jury instructions must have an index that includes
19    the following for each instruction, as illustrated in the example below:
20                    the number of the instruction;
21                    the title of the instruction;
22                    the source of the instruction and any relevant case citations; and
23                    the page number of the instruction.
24     Example:
25
       Instruction
26     Number              Title                          Source            Page Number
27     1                   Trademark-Defined              9th Cir. 8.5.1          1
                           (15.U.S.C. § 1127)
28

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1            During the trial and before closing argument, the court will meet with the
2     parties to settle the instructions. At that time, the parties will have an opportunity to
3     make an oral record concerning their objections.
4                    5.   Joint Verdict Forms (Jury Trial Only)
5            The parties shall make every effort to agree on a general or special verdict
6     form before submitting proposals to the court. The parties shall file a proposed joint
7     general or special verdict form fourteen (14) days before the FPTC. If the parties are
8     unable to agree on a verdict form, the parties shall file one document titled
9     “Competing Verdict Forms” which shall include: (i) the parties’ respective proposed
10    verdict form; (ii) a “redline” of any disputed language; and (iii) the factual or legal
11    basis for each party’s respective position. The court may opt to use a general verdict
12    form if the parties are unable to agree on a special verdict form.
13                   6.   Joint Statement of the Case (Jury Trial Only)
14           The parties must file a Joint Statement of the Case fourteen (14) days before
15    the FPTC for the court to read to the prospective jurors before commencement of voir
16    dire. The joint statement should be brief and neutral and must not be more than one
17    page in length.
18                   7.   Voir Dire (Jury Trial Only)
19           Generally, a jury in a civil action will consist of eight (8) jurors. In most cases,
20    the court will seat fourteen (14) prospective jurors in the jury box. The court will
21    conduct the voir dire. The court uses a written questionnaire that requires prospective
22    jurors to answer orally. The questionnaire is posted on Judge Aenlle-Rocha’s
23    webpage. The parties may file any proposed case-specific voir dire questions for the
24    court’s consideration at least fourteen (14) days before the FPTC. If it considers the
25    questions proper, the court will pose the questions to the prospective jurors.
26           Each side has three (3) peremptory challenges. All challenges for cause shall
27    be made at side bar or otherwise outside the prospective jurors’ presence. The court
28    will not necessarily accept a stipulation to a challenge for cause. After all challenges

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1     have been exercised, the remaining jurors in the eight (8) lowest numbered seats will
2     be the jury.
3                    8.    Proposed Findings of Fact and Conclusions of Law (Bench
4                          Trial Only)
5            For any trial requiring findings of fact and conclusions of law, each party shall
6     file and serve on the opposing party, no later than twenty-eight (28) days before the
7     FPTC, its Proposed Findings of Fact and Conclusions of Law in the format specified
8     in Local Rule 52-3.
9            The parties may submit Supplemental Proposed Findings of Fact and
10    Conclusions of Law during the trial. Once trial concludes, the court may order the
11    parties to file Revised Proposed Findings of Fact and Conclusions of Law.
12                   9.    Declarations of Direct Testimony (Bench Trial Only)
13           When ordered by the court in a particular case, each party shall, at least
14    twenty-eight (28) days before the FPTC, file declarations containing the direct
15    testimony of each witness whom that party intends to call at trial. If such
16    declarations are filed, each party shall file any evidentiary objections to the
17    declarations submitted by any other party at least fourteen (14) days before the FPTC.
18    Such objections shall be submitted in the following three-column format: (i) the left
19    column should contain a verbatim quote of each statement objected to (including
20    page and line number); (ii) the middle column should set forth a concise legal
21    objection (e.g., hearsay, lacks foundation, etc.) with a citation to the corresponding
22    Federal Rule of Evidence or, where applicable, a case citation; and (iii) the right
23    column should provide space for the court’s ruling on the objection. The court
24    anticipates issuing its ruling on the objections during the FPTC.
25           B.      Trial Exhibits
26           Trial exhibits that consist of documents and photographs must be submitted to
27    the court in three-ring binders. The parties shall submit to the court three (3) sets of
28    binders: one (1) original set of trial exhibits, and two (2) copies of trial exhibits. The

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1     original set of exhibits shall be for use by the jury during its deliberations, and the
2     copies are for the court. The parties should prepare additional copies of exhibits for
3     their own use and for use by witnesses. The parties must review the exhibit list and
4     exhibit binders with the Courtroom Deputy Clerk before the admitted exhibits will be
5     given to the jury.
6            All exhibits placed in three-ring binders must be indexed by exhibit number
7     with tabs or dividers on the right side. Exhibits shall be numbered sequentially 1, 2,
8     3, etc., not 1.1, 1.2, etc. See Local Rule 16-6. Every page of a multi-page exhibit
9     must be numbered. Defendant’s exhibit numbers shall not duplicate Plaintiff’s
10    numbers. The spine of each binder shall indicate the volume number and the range of
11    exhibit numbers included in the volume.
12            The original exhibits shall bear the official exhibit tags (yellow tags for
13                   Plaintiff’s exhibits and blue tags for Defendant’s exhibits) affixed to the
14                   front upper right-hand corner of the exhibit, with the case number, case
15                   name, and exhibit number stated on each tag. Tags may be obtained from
16                   the Clerk’s Office, or the parties may print their own exhibit tags using
17                   Forms G-14A and G-14B on the “Court Forms” section of the court’s
18                   website.
19            The copies of exhibits must bear copies of the official exhibit tags that were
20                   placed on the original exhibits and be indexed with tabs or dividers on the
21                   right side.
22           In addition to the three (3) sets of binders above, the parties must also submit
23    to the court a USB flash drive containing .pdf versions of all exhibits. The USB flash
24    drive must be delivered to the judge’s courtesy box located outside the Clerk’s Office
25    on the 4th floor of the courthouse by 12:00 p.m. on Monday, the day before the start
26    of trial. Plaintiff’s exhibits must be placed in a separate folder from Defendant’s
27    exhibits, and the document file names must include the exhibit number and a brief
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1     description of the document, for example: “Ex. 1 - Smith Declaration.pdf” or “Ex.
2     105 - Letter Dated 1-5-20.pdf.”
3            The court provides audio/visual equipment for use during trial. The parties are
4     encouraged to use it. More information is available at:
5     http://www.cacd.uscourts.gov/clerk-services/courtroom-technology. The court does
6     not permit exhibits to be “published” to the jurors before they are admitted into
7     evidence. Once admitted, exhibits may be displayed electronically using the
8     equipment and screens in the courtroom.
9            The parties must meet and confer at least ten (10) days before trial to stipulate
10    as much as possible to foundation, waiver of the best evidence rule, and exhibits that
11    may be received into evidence at the start of the trial. All such exhibits should be
12    noted as admitted on the court and Courtroom Deputy Clerk’s copy of the exhibit list.
13           C.         Materials to Present on First Day of Trial
14           The parties must present the following materials to the Courtroom Deputy
15    Clerk on the first day of trial:
16                   1. The three sets of binders described above, with one (1) original set of
17                      trial exhibits for the jury, and two (2) copies of trial exhibits for the
18                      court.
19                   2. Any excerpts of deposition transcripts to be used at trial, either as
20                      evidence or for impeachment. These lodged depositions are for the
21                      court’s use. The parties must use their own copies during trial.
22           D.         Court Reporter
23           Any party requesting special court reporter services for any hearing, such as
24    “Real Time” transmission or daily transcripts, shall notify the court reporter at least
25    fourteen (14) days before the hearing date.
26           E.         Jury Trial
27           On the first day of trial, court will commence at 8:30 a.m. and conclude at
28    approximately 5:00 p.m., with a one-hour lunch break. The parties must appear at

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1     8:30 a.m. to discuss preliminary matters with the court. The court will call a jury
2     panel only when it is satisfied the case is ready for trial. Jury selection usually takes
3     only a few hours. The parties should be prepared to proceed with opening statements
4     and witness examination immediately after jury selection.
5            Fridays are usually reserved for the court’s calendar. As a result, trial will not
6     be held on Fridays unless the jury is deliberating or the court’s calendar allows trial
7     to proceed. Therefore, during the first week, trial days are generally Tuesday through
8     Thursday. After the first week, trial days are generally Monday through Thursday.
9     Trial days are from 8:30 a.m. to approximately 5:00 p.m., with two 15-minute breaks
10    and a one-hour lunch break.
11    III.   CONDUCT OF ATTORNEYS AND PARTIES
12           A.      Meeting and Conferring Throughout Trial
13           The parties must continue to meet and confer on all issues that arise during
14    trial. The court will not rule on any such issue unless the parties have attempted to
15    resolve it first.
16           B.      Opening Statements, Witness Examinations, and Summation
17           Counsel must use the lectern. Counsel should not consume jury time by
18    writing out words and drawing charts or diagrams. All such aids must be prepared in
19    advance. When appropriate, the court will establish and enforce time limits for all
20    phases of trial, including opening statements, closing arguments, and the examination
21    of witnesses.
22           C.      Objections to Questions
23           Counsel must not make speaking objections before the jury or otherwise make
24    speeches, restate testimony, or attempt to guide a witness.
25           When objecting, counsel must rise to state the objection and state only that
26    counsel objects and the legal grounds for the objection. If counsel desires to argue an
27    objection further, counsel must seek permission from the court to do so.
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1            D.      Closing Arguments and Post-Trial Briefs (Bench Trial)
2            For an overview and review of the evidence presented during trial, the court
3     will rely on the parties’ closing arguments. In delivering closing arguments, the
4     parties shall use their respective proposed findings of fact and conclusions of law as a
5     “checklist” and should identify the evidence that supports their proposed findings.
6     The court will not accept post-trial briefs unless it finds that circumstances warrant
7     additional briefing and such briefing is specifically authorized.
8            E.      General Decorum While in Session
9                    1.   Counsel must not approach the Courtroom Deputy Clerk, the jury
10    box, or the witness stand without court authorization and must return to the lectern
11    when the purpose for the approach has been accomplished.
12                   2.   Counsel must rise when addressing the court, and when the court
13    or the jury enters or leaves the courtroom, unless directed otherwise.
14                   3.   Counsel must address all remarks to the court. Counsel must not
15    address the Courtroom Deputy Clerk, the court reporter, persons in the audience, or
16    opposing counsel. Any request to re-read questions or answers shall be addressed to
17    the court. Counsel must ask the court’s permission to speak with opposing counsel.
18                   4.   Counsel must not address or refer to witnesses or parties by first
19    names alone, except for witnesses who are below age fourteen (14).
20                   5.   Counsel must not offer a stipulation unless counsel have conferred
21    with opposing counsel and have verified that the stipulation will be acceptable.
22                   6.   Counsel must not leave counsel table to confer with any person in
23    the back of the courtroom without the court’s permission.
24                   7.   Counsel must not make facial expressions, nod, shake their heads,
25    comment, or otherwise exhibit in any way any agreement, disagreement, or other
26    opinion or belief concerning the testimony of a witness or argument by opposing
27    counsel. Counsel shall instruct their clients and witnesses not to engage in such
28    conduct.

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1                    8.    Counsel must never speak to jurors under any circumstance, and
2     must not speak to co-counsel, opposing counsel, witnesses, or clients if the
3     conversation can be overheard by jurors. Counsel must instruct their clients and
4     witnesses to avoid such conduct.
5                    9.    Where a party has more than one lawyer, only one attorney may
6     conduct the direct or cross-examination of a particular witness or make objections as
7     to that witness.
8                    10.   Bottled water is permitted in the courtroom but may not be placed
9     on counsel table or the lectern. Food and other beverages are not permitted. Cell
10    phones must be silenced or may be confiscated.
11           F.      Promptness
12                   1.    The court expects the parties, counsel, and witnesses to be
13    prompt. Once the parties and their counsel are engaged in trial, the trial must be their
14    priority. The court will not delay progress of the trial or inconvenience jurors.
15                   2.    If a witness was on the stand at the time of a recess or
16    adjournment, the party that called the witness shall ensure the witness is back on the
17    stand and ready to proceed as soon as trial resumes.
18                   3.    The parties must notify the Courtroom Deputy Clerk in advance if
19    any party, counsel, or witness requires a reasonable accommodation based on a
20    disability or other reason.
21                   4.    No presenting party may be without witnesses. If a party’s
22    remaining witnesses are not immediately available, thereby causing an unreasonable
23    delay, the court may deem that party to have rested.
24                   5.    The court generally will accommodate witnesses by permitting
25    them to be called out of sequence. Counsel should meet and confer in advance and
26    make every effort to resolve the matter.
27           G.      Exhibits
28                   1.    Counsel must keep track of their exhibits and exhibit list, and

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1     record when each exhibit has been admitted into evidence.
2                    2.   Counsel are responsible for any exhibits they secure from the
3     Courtroom Deputy Clerk and must return them before leaving the courtroom.
4                    3.   Any exhibit not previously marked must be accompanied by a
5     request that it be marked for identification at the time of its first mention. Counsel
6     must show a new exhibit to opposing counsel before the court session in which it is
7     mentioned.
8                    4.   Counsel must inform the Courtroom Deputy Clerk of any
9     agreements reached regarding any proposed exhibits, as well as those exhibits that
10    may be received into evidence without a motion to admit.
11                   5.   When referring to an exhibit, counsel must refer to its exhibit
12    number. Counsel should instruct their witnesses to do the same.
13                   6.   Counsel should not ask witnesses to draw charts or diagrams or
14    ask the court’s permission for a witness to do so. All demonstrative aids must be
15    prepared fully in advance of the day’s trial session.
16           H.      Depositions
17                   1.   In using deposition testimony of an adverse party for
18    impeachment, counsel may adhere to either one of the following procedures:
19                        a.       If counsel wishes to read the questions and answers as
20     alleged impeachment and ask the witness no further questions on that subject,
21     counsel shall first state the page and line where the reading begins and the page and
22     line where the reading ends, and allow time for any objection. Counsel may then
23     read the portions of the deposition into the record.
24                        b.       If counsel wishes to ask the witness further questions on the
25     subject matter, the deposition shall be placed in front of the witness and the witness
26     told to read the relevant pages and lines silently. Then counsel either may ask the
27     witness further questions on the matter and thereafter read the quotations or read the
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1      quotations and thereafter ask further questions. Counsel should have available for
2      the court and the witness extra copies of the deposition transcript for this purpose.
3                    2.   Where a witness is absent and the witness’s testimony is to be
4     offered by deposition, counsel may (a) have an individual sit on the witness stand and
5     read the testimony of the witness while the examining lawyer asks the questions, or
6     (b) have counsel read both the questions and the answers.
7            I.      Using Numerous Answers to Interrogatories and Requests for
8                    Admission
9            Whenever counsel expects to offer a group of answers to interrogatories or
10    requests for admissions extracted from one or more lengthy discovery responses,
11    counsel should prepare a new document listing each question and answer and
12    identifying the document from which it has been extracted. Copies of this new
13    document should be given to the court and the opposing party.
14           J.      Advance Notice of Unusual or Difficult Issues
15           If any party anticipates that a difficult question of law or evidence will
16    necessitate legal argument requiring research or briefing, that party must give the
17    court advance notice. The parties must notify the Courtroom Deputy Clerk
18    immediately of any unexpected legal issue that could not have been foreseen and
19    addressed in advance. To the extent such issue needs to be addressed outside the
20    jury’s presence, the relevant party must inform the Courtroom Deputy Clerk before
21    jurors are excused for the day to minimize the time jurors are kept waiting. The court
22    expects all parties to work diligently to minimize delays and avoid keeping jurors
23    waiting.
24           K.      Continuances of Pretrial and Trial Dates
25           Requests for continuances of pretrial and trial dates must be by motion,
26    stipulation, or application, and be accompanied by a detailed declaration setting forth
27    the reasons for the requested relief. The declaration should include whether any
28    previous requests for continuances have been made and whether these requests were

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1     granted or denied by the court. Stipulations extending dates set by the court are not
2     effective unless approved by the court.
3            The court has a strong interest in keeping scheduled dates certain, and changes
4     in dates are disfavored. Trial dates set by the court are firm and rarely will be
5     changed. Therefore, a stipulation to continue or extend a trial or pretrial date must be
6     supported by a detailed factual showing of good cause and due diligence
7     demonstrating the necessity for the continuance and a description of the parties’
8     efforts, dating back to the filing of the complaint, of the steps they have taken to
9     advance the litigation. This detailed showing must demonstrate that the work still to
10    be performed reasonably could not have been accomplished within the applicable
11    deadlines. General statements are insufficient to establish good cause. Without such
12    compelling factual support and showing of due diligence, stipulations continuing
13    dates set by the court will be denied.
14           Parties appearing pro se must comply with the Federal Rules of Civil
15    Procedure and the Local Rules. See Local Rules 1-3 and 83-2.2.3.
16           IT IS SO ORDERED.
17
18    Dated: February 23, 2022
19                                                 ______________________________
20                                                 FERNANDO L. AENLLE-ROCHA
                                                   United States District Judge
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